                         UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                                  3:97-CR-155-19

UNITED STATES OF AMERICA                      )
                                              )
                                              )       ORDER
               v.                             )
                                              )
                                              )
JOHN F. GARMON                 (19)           )


       THIS MATTER is before the Court on the Defendant’s letter motion seeking early

termination of supervised release/probation [doc. #1066]. Although defendant has had a few

issues, he has been generally cooperative, and it appears to the court that his extreme difficulty in

finding employment is exacerbated by probation, and it appears to the court that it would be in

the best interest of this defendant and the United States to terminate his probation early.

       IT IS THEREFORE ORDERED that defendant’s motion is GRANTED.

                                                  Signed: October 5, 2009




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